Case 1:21-cv-11181-PBS Document 1-2 Filed 07/21/21 Page 1 of 30




               Exhibit B
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Case1:21-cv-11181-PBS
     1:20-cr-10263-PBS Document 1-2
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                                    Filed11/03/20
                                         07/21/21 Page
                                                  Page12of
                                                        of25
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                  UNITED STATES DISTRICT COURT
                   DISTRICT OF MASSACHUSETTS

                                 )   Criminal No. 20cr10263
UNITED STATES OF AMERICA         )
                                 )   Violations:
      V.                         )
                                 )   Count One: Conspiracy To Commit Stalking
JIM BAUGH and                    )   Through Interstate Travel and Through
DAVID HARVILLE,                  )   Facilities of Interstate Commerce
                                 )   (18 u.s.c. § 371)
           Defendants            )
                                 )   Counts Two - Five: Stalking Through Interstate
                                 )   Travel; Aiding and Abetting
                                 )   (18 U.S.C. §§ 2261A(l) and 2)
                                 )
                                 )   Counts Six - Nine: Stalking Through Facilities
                                 )   of Interstate Commerce; Aiding and Abetting
                                 )   (18 U.S.C. §§ 2261A(2) and 2)
                                 )
                                 )   Counts Ten - Twelve: Tampering with a
                                 )   Witness; Aiding and Abetting
                                 )   (18 U.S.C. §§ 1512(b)(3) and 2)
                                 )
                                 )   Counts Thi1teen - Fifteen: Destruction,
                                 )   Alteration, and Fabrication of Records in a
                                 )   Federal Investigation; Aiding and Abetting
                                ')   (18 U.S.C. §§ 1519 and 2)
                                 )
                                 )   Forfeiture Allegations:
                                 )   (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C.
                                 )   § 2461(c))
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Case1:21-cv-11181-PBS
     1:20-cr-10263-PBS Document 1-2
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Case1:21-cv-11181-PBS
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Case1:21-cv-11181-PBS
     1:20-cr-10263-PBS Document 1-2
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OJS 45 (5/97) - (RevisedCase
                         U.S.D.C.1:21-cv-11181-PBS
                        Case      MA 3/25/2011)
                                  1:20-cr-10263-PBS      Document
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                                                                               11/03/20 Page
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Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.         II                   Investigating Agency       FBI

City      Natick                                   Related Case Information:

County       Middlesex                             Superseding Ind./ Inf.                          Case No.
                                                   Same Defendant                             New Defendant
                                                   Magistrate Judge Case Number             20-MJ-2398-MBB
                                                   Search Warrant Case Number
                                                   R 20/R 40 from District of

Defendant Information:

Defendant Name         JIM BAUGH                                                Juvenile:               G Yes G
                                                                                                              ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:             G    Yes ✔
                                                                                                                 G No
Alias Name
Address                (City & State) Little Rock, Arkansas
                      1974 SSN (last4#):________
Birth date (Yr only): _____              6549        M
                                                 Sex _____                       W
                                                                          Race: ___________                       USA
                                                                                                    Nationality: ____________________

Defense Counsel if known:                 William Fick, Esq.                        Address Fick & Marx LLP

Bar Number

U.S. Attorney Information:

AUSA         Seth B. Kosto                                               Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                      List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                       G Yes      ✔ No
                                                                                                                          9

Matter to be SEALED:                G Yes         G✔    No

          G Warrant Requested                       ✔ Regular Process
                                                    G                                         G In Custody

Location Status:

Arrest Date                  06/15/2020

G Already in Federal Custody as of                                                    in                                     .
G Already in State Custody at                                           G Serving Sentence             G Awaiting Trial
G
✔ On Pretrial Release:        Ordered by:         NDCA                                 on        6/16/2020

Charging Document:                  G Complaint                     G Information                   ✔ Indictment
                                                                                                    G
                                                                                                                 9
Total # of Counts:                  G Petty                         G Misdemeanor                   G Felony
                                                                                                    ✔

                                           Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     11/02/2020                          Signature of AUSA:
                      Case
                      Case1:21-cv-11181-PBS
                           1:20-cr-10263-PBS Document
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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                Jim Baugh

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged                   Count Numbers
                                                     Conspiracy to commit stalking through interstate travel
Set 1     18 USC 371                                 and facilities of interstate commerce                     1

                                                     Stalking through interstate travel
Set 2     18 USC 2261A(1)                                                                                      2-3
                                                     Stalking through facilities of interstate commerce
Set 3     18 USC 2261A(2)                                                                                      6-7

                                                     witness tampering
Set 4     18 USC 1512(b)(3)                                                                                    10-11

                                                     fabrication and destruction of records in a federal
Set 5     18 USC 1519                                investigation                                             13-14

                                                     Asset Forfeiture
Set 6     18 USC 981(a)(1)(c)                                                                                  N/A
                                                     Asset Forfeiture
Set 7     28 USC 2461(c)                                                                                       N/A


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
OJS 45 (5/97) - (RevisedCase
                         U.S.D.C.1:21-cv-11181-PBS
                        Case      MA 3/25/2011)
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                                                                                         Page291 of
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Criminal Case Cover Sheet                                                          U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.       II                   Investigating Agency       FBI

City      Natick                                  Related Case Information:

County       Middlesex                            Superseding Ind./ Inf.                         Case No.
                                                  Same Defendant                            New Defendant
                                                  Magistrate Judge Case Number             20-MJ-2398-MBB
                                                  Search Warrant Case Number
                                                  R 20/R 40 from District of

Defendant Information:

Defendant Name         DAVID HARVILLE                                         Juvenile:               G Yes G
                                                                                                            ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:           G     Yes ✔
                                                                                                                G No
Alias Name
Address                (City & State) Las Vegas, NV
                      1971 SSN (last4#):________
Birth date (Yr only): _____              5021        M
                                                 Sex _____                     W
                                                                        Race: ___________                       USA
                                                                                                  Nationality: ____________________

Defense Counsel if known:                 Daniel Gelb                             Address 900 Cummings Center, Suite 207-V

Bar Number                                                                                  Beverly, MA 01915

U.S. Attorney Information:

AUSA         Seth B. Kosto                                             Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                     List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                     G Yes      ✔ No
                                                                                                                        9

Matter to be SEALED:                G Yes        G✔     No

          G Warrant Requested                       ✔ Regular Process
                                                    G                                        G In Custody

Location Status:

Arrest Date                  06/15/2020

G Already in Federal Custody as of                                                  in                                       .
G Already in State Custody at                                         G Serving Sentence             G Awaiting Trial
G
✔ On Pretrial Release:        Ordered by:        Marianne B Bowler                    on        6/15/2020

Charging Document:                  G Complaint                   G Information                   ✔ Indictment
                                                                                                  G
                                                                                                                7
Total # of Counts:                  G Petty                       G Misdemeanor                   G Felony
                                                                                                  ✔

                                          Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     11/02/2020                          Signature of AUSA:
                      Case
                      Case1:21-cv-11181-PBS
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                                                                             Page302 of
                                                                                     of 30
                                                                                        2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                David Harville

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged                   Count Numbers
                                                     Conspiracy to commit stalking through interstate travel
Set 1     18 USC 371                                 and facilities of interstate commerce                     1

                                                     Stalking through interstate travel
Set 2     18 USC 2261A(1)                                                                                      4-5
                                                     Stalking through facilities of interstate commerce
Set 3     18 USC 2261A(2)                                                                                      8-9

                                                     witness tampering
Set 4     18 USC 1512(b)(3)                                                                                    12

                                                     fabrication and destruction of records in a federal
Set 5     18 USC 1519                                investigation                                             15

                                                     Asset Forfeiture
Set 6     18 USC 981(a)(1)(c)                                                                                  N/A
                                                     Asset Forfeiture
Set 7     28 USC 2461(c)                                                                                       N/A


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
